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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                      )              BK No.:     19-13688
                                            )
ALBERTA D. MACK-LEE                         )              Chapter: 13
                                            )
                                                           Honorable Deborah L. Thorne
                                            )
                                            )
              Debtor(s)                     )

                           ORDER MODIFYING AUTOMATIC STAY

        This cause coming before the Court upon the Motion of KIA MOTORS FINANCE COMPANY
to Modify the Automatic Stay pursuant to Section 362 of the Bankruptcy Code, 11 U.S.C. §362, due
notice having been given, and the Court being fully advised in the premises,

  IT IS HEREBY ORDERED:

  1. That the Motion of KIA MOTORS FINANCE COMPANY to Modify Automatic Stay is hereby
granted;

   2. That the automatic stay provided by Section 362 of the Bankruptcy Code is hereby modified to
permit KIA MOTORS FINANCE COMPANY to take possession of, sell and foreclose its security
interest in the 2019 Kia Sportage motor vehicle bearing a Vehicle Identification Number of
KNDPRCA65K7551415, which is the subject of its Motion and as provided by Illinois law and statute;
and,

  3. That Bankruptcy Rule 4001(a)(3) does not apply to this Order.

                                                        Enter:


                                                                 Honorable Deborah L. Thorne
Dated: October 16, 2019                                          United States Bankruptcy Judge

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